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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

(1) ANA BIEDERMAN, individually,

Plaintil`f,
v.
Case No. 12*CV-251-GKF-TLW
(2) ALLMERICA FINANCIAL BENEFIT
lNSURANCE COMPANY, a foreign for
profit insurance company,

 

Defendant.

 

IOINT STIPULATION OF DISMISSAL WITH PREIUD!CE
Pursuant to Rule 41(a)(1) (A) (ii) of the Federal Rules of Civil Procedure, Plaintiff, Ana
Biederrnan and Defendant, Allrnerica Financial Benefit lnsurance Company, through their
respective counsel, hereby stipulate to dismissal of this action With prejudice to future re~
filing, including all claims that Were or could have been asserted in this action. Each party shall

bear her or its own attorneys fees and Costs.

Dated: Deceinl:)er 27, 2012.

Respectfully suhmitted,

By: /S/ Michael P. Atl<inson
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ATTORNEYS FOR ALLMERICA FINANCIAL
BENEFI'I` INSURANCE COMPANY

CERTIFICATE ()F SERVICE

l hereby certify that on the 27th day ofDecernber, 2012, l electronically transmitted the
foregoing document to the Clerl< ofthe Court using ECF Systern for filing and transmittal ofa
Notice of Electronic Filing to the following ECF registrants:

l\/lichael P. Atl<inson
Andrew C. layne

Andrew Wal<enian

/s/ Randall E. Lone

